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IN THE UNITED STATES DlsTRICT COURT F"ED B" '-- D""

FoR THE WESTERN DISTRICT oF TENNESSEE § *_ _
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HERBERT DIXON, Ct,EFEl€, l,jf$. §T)-lST. CT.
W.D. OF `S`N, ?-»,¢'SEMPH¢S
Plaintiff,
vs, Civil No. 05-2]61F D/P

JOHN E. POTTER, POSTMASTER GENERAL,
UNITED STATES POSTAL SERVICE,

Defendant.

 

JOINT SCHEDULING ORDER

 

Pursuant to written notice, a Scheduling conference was held June 9, 2005. Present

Were Kathleen L. Caldwell, counsel for plaintiff, and Linda N. Harris, counsel for defendants

At the conference, the following dates Were established as the final dates for:

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2.

lnitial disclosures pursuant to Fed. R. Civ, P. 26(3)(1): July 8, 2005

Joining Parties: July 8, 2005.

Amending Pleadings: July 8, 2005

Initial Motions to Dismiss: August 8, 2005

Cornpleting All Discovery: January 16, 2006

(a) Document Production: January 16, 2006

(b) Deposition, Interrogatories, Requests for Admissions: January 16, 2006
(c) Expert Witness Disclosures:

(l) Disclosure of Plaintiff’s Rule 26 Expert: November 15, 2005

'1"""ment entered on the docket sheet in compliance
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(2) Disclosure of Defendant’s Rule 26 Expert: December 15, 2005
(3) Expert Witness Depositions: February 28 , 2006
6. Filing Dispositive Motions: February 28, 2006
This case is set for a non-jury trial, and the trial is expected to last 1-2 days. The pretrial
order date, pretrial conference date, and the trial date will be set by the presiding judge.
The parties cannot assess whether this case is appropriate for ADR until some discovery
has been conducted. The parties are ordered to notify the Court no later than February 28, 2006,
if they believe ADR is appropriate
The parties have not consented to trial before the magistrate judge
This Order has been entered after consultation with the parties pursuant to notice.

Absent good cause shown, the scheduling dates set by this Order will not be modified or

 

 
 
 
 

 

extended
IT IS SO ORDERED. M
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TU M, PHAM
UNITED STATES MAGISTRATE JUDGE
<_, Date: TU'WL_ ? f ?Qd§-

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THLEEN L. CALDWEL
Counsel for Plaintiff

 

Assistant United States Attorney

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 13 in
case 2:05-CV-02l6l was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

Kathleen L. Caldvvell

LAW OFFICE OF KATHLEEN L. CALDWELL
2080 Peabody Ave.

l\/lemphis7 TN 38104

Honorable Bernice Donald
US DISTRICT COURT

